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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA
                                              )                CASE NO. 8:07CR431
UNITED STATES OF AMERICA,
                                              )
                                              )                     ORDER
                     Plaintiff,
                                              )
v.                                            )
                                              )
KADHEM ALBUMOHAMED,                           )
                                              )
                     Defendant.               )


       IT IS ORDERED, that defendant’s motion for enlargement of time to file objections

to presentence report (filing 63) is granted. The defendant shall file his objections by close

of business July 21, 2008.

       July 18, 2008.                        BY THE COURT:



                                             s/ Joseph Bataillon
                                             United States District Judge




Order prepared by:
Reiman Law Firm
650 J Street, Suite 400
Lincoln, NE 68508
